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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                   )       Case No.: 5:20-cr-00214-JWH
11                                               )
                             Plaintiff,          )       ORDER OF DETENTION PENDING
12                                               )       FURTHER REVOCATION
                     v.                          )       PROCEEDINGS
13                                               )       (FED. R. CRIM. P. 32.1(a)(6); 18
     DAVID DUANE BANCHETTO,                      )       U.S.C. § 3143(a)(1))
14                                               )
                             Defendant.          )
15                                               )
16       The defendant having been arrested in this District pursuant to a warrant
                                                       Central
17 issued by the United States District Court for the _______________   District of
   California
18 ______________ for alleged violation(s) of the terms and conditions of probation
19 or supervised release; and
20         Having conducted a detention hearing pursuant to Federal Rule of Criminal
21 Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
22 A. ( x)    The defendant has not met his/her burden of establishing by clear and
23            convincing evidence that he/she is not likely to flee if released under 18
24            U.S.C. § 3142(b) or (c). This finding is based on the following:
25            ( x)        information in the Pretrial Services Report and Recommendation
26            ( x)        information in the violation petition and report(s)
27            ( )         the defendant’s nonobjection to detention at this time
28            ( )         other:


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 1            and/ or
 2 B. ( x)    The defendant has not met his/her burden of establishing by clear and
 3            convincing evidence that he/she is not likely to pose a danger to the safety
 4            of any other person or the community if released under 18 U.S.C.
 5            § 3142(b) or (c). This finding is based on the following:
 6            (x )   information in the Pretrial Services Report and Recommendation
 7            (x)    information in the violation petition and report(s)
 8            ( )    the defendant’s nonobjection to detention at this time
 9            ( )    other:
10
11 IT THEREFORE IS ORDERED that the defendant be detained pending the further
12 revocation proceedings.
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14 Dated: 10/6/2021                         ____________________ _____________
                                            SHASHI H. KEWALRAMANI
15                                          UNITED STATES MAGISTRATE JUDGE
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